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 4
     Attorney for Defendant
 5   GARY ROBERTS
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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                            Case No.: 2:17-CR-00064 JAM
11
                                    Plaintiff,            STIPULATION TO CONTINUE FILING
12                                                        AND HEARING DATES ON
            v.
                                                          DEFENDANT’S MOTION FOR
13
     GARY ROBERTS,                                        SUPPRESSION; [PROPOSED] ORDER
14
                                    Defendants.           DATE: October 23, 2018
15                                                        TIME: 9:15 a.m.
                                                          COURT: Hon. John A. Mendez
16
17
18                                               STIPULATION
19          Defendant Gary Roberts, by and through undersigned counsel, Defendants Ruth
20   Kellner and Rodney Sharp, through their counsel of record, and Plaintiff United States of
21   America, by and through its counsel of record, hereby stipulate as follows:
22          1. By previous motion, this matter was set for hearing on October 23, 2018. Dkt. #139.
23          2. By this stipulation, the parties now move to continue the discovery hearing to
24   November 20, 2018. In addition, they stipulate that the defendant’s reply to the government’s
25   opposition will be due on November 6, 2018.
26          3. This continuance will allow the defendants to adequately respond to the issues raised
27   by the government in its opposition brief.
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     Stip. Continuing Filing and Hearing Dates on Defendant’s Discovery Motion; [Proposed]
     Order
             Case 2:17-cr-00064-JAM Document 143 Filed 10/12/18 Page 2 of 3


 1          4. The defendant is out of custody. Dkt. #67. Defendant Ruth Kellner was ordered
 2   detained pending trial on April 20, 2017. Dkt. #22. Defendant Rodney Sharp was ordered
 3   detained pending trial on September 18, 2017. Dkt. #77.
 4          5. The case’s next status conference is set for November 6, 2018. Dkt. #136.
 5          IT IS SO STIPULATED
 6
 7   Dated: October 12, 2018                            /s/ ETAN ZAITSU
                                                        ETAN ZAITSU
 8                                                      Attorney for Defendant
 9                                                      GARY ROBERTS

10
     Dated: October 12, 2018                            /s/ CHRIS COSCA
11                                                      CHRIS COSCA
12                                                      Counsel for Defendant
                                                        RUTH KELLNER
13
14
     Dated: October 12, 2018                            /s/ HANNAH LABAREE
15                                                      HANNAH LABAREE
                                                        Counsel for Defendant
16                                                      RODNEY SHARP
17
18   Dated: October 12, 2018                            McGREGOR W. SCOTT
                                                        United States Attorney
19
20                                                      /s/ AMANDA BECK
                                                        AMANDA BECK
21                                                      Assistant United States Attorney
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     Stip. Continuing Filing and Hearing Dates on Defendant’s Discovery Motion; [Proposed]
     Order
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 1
                                   FINDINGS AND ORDER
 2
 3         IT IS SO FOUND AND ORDERED this 12th day of October, 2018.

 4
                                  /s/ John A. Mendez________________________
 5                                THE HONORABLE JOHN A. MENDEZ
 6                                UNITED STATES DISTRICT COURT JUDGE

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     Stip. Continuing Filing and Hearing Dates on Defendant’s Discovery Motion; [Proposed]
     Order
